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Attorneys for Plaintiff
Symbology Innovations, LLC

                       IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH, CENTRAL DIVISION


   SYMBOLOGY INNOVATIONS, LLC,                             Case No. 2:19-CV-0391-PMW

                Plaintiff,
                                                    NOTICE OF VOLUNTARY
      v.                                            DISMISSAL WITHOUT PREJUDICE

   DOTERRA HOLDINGS, LLC,                              Magistrate Judge Paul M. Warner

                Defendant.



       TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(1), Plaintiff

Symbology Innovations, LLC hereby dismisses this action without prejudice. According to Rule

41(a)(1), an action may be dismissed by the plaintiff without order of court by filing a notice of

dismissal at any time before service of an answer by the adverse party. Defendant has not yet

answered the Complaint or moved for summary judgment. Each party shall bear their own costs,

expenses and attorney’s fees.




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Dated: July 19, 2019.                    Respectfully submitted,


                                         /s/Jean G. Vidal-Font
                                         Jean G. Vidal-Font
                                         Ferraiuoli LLC

                                         Attorney for Plaintiff
                                         Symbology Innovations, LLC




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of July, 2019, a true and correct copy of the

foregoing   NOTICE      OF   VOLUNTARY      DISMISSAL       WITHOUT     PREJUDICE      was

electronically filed with the Clerk of the Court, using the CM/ECF system, which will

automatically send email notification of such filing to all counsel who have entered an

appearance in this action.



                                          /s/Jean G. Vidal-Font




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